Case 2:02-cr-20168-SH|\/| Document 115 Filed 08/26/05 Page 1 of 6 Page|D 113
UN|TED STATES DlSTR|CT COURT

wEsTEF\N DlsTRlcT oF TENNEssEE F"'ED B"’ o.c.
MEMPl-us DlvisloN -
05 Aur; 25 ppg i,, 19
uNlTED s'rATEs oF AMEFucA
CLEHHfOiMS ill §QULD
-v- 02-20168-01-Ma vy@%$rff€j£§dii
DETRO\T BOYD

Randolph W. A|den, FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

AMENDED* JUDGMENT lN A CR|M|NAL CASE

AFTER RE-SENTENC|NG
(For Offenses Committec| On or After November 1, 1987)

The defendant was found guilty on Count 1 of the indictment on March 11, 2003.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit\e & section M¢M Offense Numberjsj
Concluded
18 U.S.C. § 922(g) Fe|on in possession of a firearm 03/09/2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Niandatory
Victims Fiestitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Fie-lmposition of Sentence:
Defendant’s Date of Birth: 7/18/1973 August 26, 2005
Deft‘s U.S. N|arshal No.: 18391-076

Defendant’s Fiesidence Address:
2526 Sparks Fioad

Memphis,TN 38106 y dm

SAMUEL H. MAYS, JFL
UN|TED STATES D|STF'i|CT JUDGE

2 §
This doct ment entered on the dockets et in com lance
with R.lle 55 and/or 321bl FFlCrP on w '

 

August , 2005

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Defendant Name: Detroit Boyd Page 2 of 5

lMPFI|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of one hundred twenty (120) months.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at a Federa! Medical
Faci|ity where defendant can receive mental health treatment.

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UNiTED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 02-20168-01-Ma
Defendant Name: Detroit Boyd Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

14. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependenoywhich may include testing forthe detection ofsubstance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

15. The defendant shall participate as directed in a program of mental health treatment
approved by the Probation Officer. Further, the defendant shall be required to contribute to
the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer based on ability to pay or availability of third party payment and in
conformance with the Probation Office’s S|iding Scale for Menta| Health Treatment Services.

16. The defendant shall continue to use his medication(s) as prescribed by his doctor(s).
17. The defendant shall seek and maintain lawful full-time employment.

18. *T he defendant shall cooperate in the collection of DNA as directed by the Probation
Officer.

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CR|MINAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Sohedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payrnents may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately.

F|NE
No fine imposed.

RESTITUT|ON
No Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 115 in
case 2:02-CR-20168 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
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Ste. 200

1\/1emphis7 TN 38103

John Thomas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

